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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,                 )     Case No. 8:17CB9
                                          )     Violation Notice No. 6200229 NE22
                                          )
                            Plaintiff,    )
         vs.                              )         ORDER
                                          )
                                          )
ROBERT W. GROVER,                         )
                                          )
                            Defendant.    )


     IT IS ORDERED:

       The court grants the defendant’s request to extend the time in which to pay his fine.

This matter is scheduled for hearing on December 26, 2017 at 9:00 a.m. in Courtroom No.

7, Second Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza,

Omaha, Nebraska. The defendant shall either pay the fine in full before this date or shall

appear at hearing time, or a warrant shall issue for his arrest.

       Dated this 28th day of November, 2017.


                                                 BY THE COURT:


                                                 s/ Susan M. Bazis
                                                 United States Magistrate Judge
